Case 2:18-cv-10277-MCA-ESK Document 2 Filed 06/11/18 Page 1 of 1 PageID: 28




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 BEVERLY HARRIS,

        Plaintiff,                                            Civil Action No. 18-10277

        v.                                                             ORDER

 THE BOZZUTO GROUP,

        Defendant.


ARLEO, UNITED STATES DISTRICT JUDGE

       THIS MATTER having coming before the Court by way of Plaintiff Beverly Harris’

(“Plaintiff”) request to proceed in forma pauperis under 28 U.S.C. § 1915, ECF No. 1;

       and the Court finding that Plaintiff has not adequately alleged indigence or an inability to

prepay court fees in that Plaintiff alleges she receives $28,236.00 per month in retirement income

in addition to $268.12 per month in disability income;

       IT IS on this 11th day of June, 2018,

       ORDERED that Plaintiff’s application to proceed without prepayment of fees or costs is

DENIED; and it is further

       ORDERED that the Clerk shall close this case.          Plaintiff may reopen the case by

submitting, within 14 days from the date of this Order, payment in the amount of $400 or a revised

application to proceed in forma pauperis.

                                                     /s Madeline Cox Arleo__________
                                                     Hon. Madeline Cox Arleo
                                                     United States District Judge
